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 March 5, 2018

 VIA ECF

 The Honorable Robert W. Lehrburger
 United States District Court for the Southern District of New York
 Daniel Patrick Moynihan United States Courthouse
 500 Pearl Street, Courtroom 18D
 New York, NY 10007-1312

 Re:       Royal Park Investments SA/NV v. U.S. Bank National Association
           Case No. 1:14-cv-02590-VM-JCF

 Dear Judge Lehrburger:

 On behalf of U.S. Bank National Association (“U.S. Bank”), we write to renew U.S. Bank’s
 motion for a protective order to preclude Royal Park Investments SA/NV (“RPI”) from using
 statistical sampling and re-underwriting of a sample of loans (“sampling”) to attempt to
 establish liability and/or damages in this case. Dkt. 221. To date, every court and judge that
 has addressed this issue has found that sampling cannot aid in establishing liability or
 damages in this type of case and thus precluded sampling-related discovery.1

 By way of background, and in its April 2017 motion for a protective order, U.S. Bank
 argued, on the basis of two decisions by Magistrate Judge Netburn, that sampling cannot
 prove liability or damages on a loan-by-loan basis, as is required, and therefore sampling-
 related discovery is disproportionate to the needs of this case. Dkt. 221. RPI opposed U.S.
 Bank’s motion, arguing in part that it was premature because Magistrate Judge Netburn’s
 decisions were under review by Judge Failla and Judge Schofield. Dkt. 220. On June 1,
 2017, Judge Francis denied U.S. Bank’s motion for a protective order “without prejudice to
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   See Blackrock Allocation Target Shares v. Wells Fargo Bank, N.A., No. 1:14-cv-9371-KPF-SN, 2017 WL
 953550 (S.D.N.Y. Mar. 10, 2017) (“Blackrock Opinion”); Blackrock Allocation Target Shares v. Wells Fargo
 Bank, N.A., No. 1:14-cv-9371-KPF-SN, 2017 WL 3610511 (S.D.N.Y. Aug. 21, 2017) (“Blackrock Order”
 affirming the Blackrock Opinion); Royal Park SA/NV v. HSBC Bank USA Nat’l Ass’n, No. 1:14-cv-08175-LGS-
 SN, 2017 WL 945099 (S.D.N.Y. Mar. 10, 2017) (“HSBC Opinion”); Royal Park SA/NV v. HSBC Bank USA
 Nat’l Ass’n, No. 1:14-cv-09366-LGS-SN, Order, Dkt. 483 (S.D.N.Y. Feb. 23, 2018) (“HSBC Order” affirming
 the HSBC Opinion); see also The Western & Southern Life Ins. Co. v. Bank of New York Mellon, 2017 WL
 3392856, at *3-4 (Ohio Com.Pl. Aug. 4, 2017) (because case requires loan by loan analysis, “case is not one
 where sampling is in any way appropriate.”).
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 being renewed following determination of the objections made to Judge Netburn’s decisions”
 in the Blackrock Opinion and HSBC Opinion. Dkt. 246. Subsequently, U.S. Bank and RPI
 stipulated, and Judge Francis ordered, that renewed sampling motions were to be filed “10
 days after rulings on the objections made to Judge Netburn’s decisions [on]sampling-related
 issues.” Dkt. 301.

 On August 21, 2017, Judge Failla adopted Judge Netburn’s recommendation. Blackrock
 Order. More recently, and on February 23, 2018, Judge Schofield likewise affirmed Judge
 Netburn’s decision. HSBC Order. As such, U.S. Bank’s sampling motion is now ripe for
 renewed consideration.

 U.S. Bank hereby incorporates by reference the arguments and evidence set forth in its
 original sampling motion. Dkt. 221. In the interest of judicial economy, however, U.S. Bank
 will not reiterate the bases for its motion, but will instead focus on new precedent that,
 combined with prior precedent and argument, compels the preclusion of sampling in this
 matter.

 As a matter of law, liability and damages in this case must be determined on a loan-by-loan
 basis. Ret. Bd. of the Policemen’s Annuity & Benefit Fund of the City of Chicago v. Bank of
 N.Y. Mellon, 775 F.3d 154, 162 (2d Cir. 2014); HSBC Order, p. 5. Thus, both of RPI’s core
 theories of liability must be proven on a loan-by-loan basis, i.e., that (i) U.S. Bank allegedly
 discovered breaches of representations and warranties (“R&Ws”) regarding loans underlying
 the 21 trusts at issue, but breached an alleged duty to require the repurchase or cure of such
 breaches under the governing agreements; and (ii) U.S. Bank allegedly obtained actual
 knowledge of Servicing Events of Default (“EoDs”), but failed thereafter to act as a prudent
 person. See, e.g., Complaint ¶¶ 7-18. The exact same theories of liability were at issue in
 both Blackrock and HSBC, and both courts found sampling insufficient to prove liability. As
 reflected in the HSBC Order:

          The requirement that [Defendant] have information on a loan-by-loan basis
          to trigger its duties comports with the structure of § 2.03 of the PSAs and the
          limited duties it imposes on [Defendant] as trustee. When the trustee
          identifies a defective document or R&W breach, [Plaintiff’s theory of
          liability is that] it must request that the seller cure the defect or breach, and if
          the seller does not, the trustee must require the seller to repurchase the loan.
          The trustee cannot fulfill either of these duties without loan-specific
          information. The trustee cannot provide notice to the seller without knowing
          the specific defective document or the specific R&W breach. The trustee
          cannot evaluate any cure and cannot enforce the seller’s obligation to
          repurchase a specific loan without information about that loan. Given the
          limited and loan-specific nature of the trustee’s duties under § 2.03, the
          “discovery or receipt of notice” requirement must require [Defendant] to
          have information about a specific loan, rather than generalized knowledge or
          notice extrapolated from other loans.



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 HSBC Order, p. 5 (citation omitted). As Judge Schofield properly held, “[s]ampling cannot
 provide loan-specific information as to any loan outside the sample and is therefore of
 limited benefit.” Id. In addition to finding sampling inappropriate to establish the trustee’s
 liability for breaches of R&Ws, the court also found that sampling was inappropriate to show
 EoDs for the same reason. Id. at 9 (sampling “cannot provide loan specific information as to
 any loan outside the sample.”); Blackrock Order, at *10-11.

 The HSBC Order also examined the cases cited by the plaintiffs in support of sampling and
 found them to be distinguishable because, unlike cases against warrantors or originators, the
 breach rate in a trust is not sufficient to establish liability or damages against a trustee.
 HSBC Order, pp. 6-9. RPI relies on the same or similar cases in its opposition to U.S.
 Bank’s original motion for a protective order, and for the same reasons set forth in the HSBC
 Order, these cases should be found distinguishable. Dkt. 220, pp. 4-5. The court found that:

          Indenture trustees . . . neither underwrite loans nor . . . have any duty to
          examine them absent receipt of some form of loan-specific information of a
          breach. Thus, as to trustees, information establishing general breach rates
          and average harm per breach cannot prove liability and damages; . . . Re-
          underwriting a sample of loans does not aid in determining the loans, if any,
          about which the trustee received relevant actionable information.

 HSBC Order at 7. The court held that “actions against originators and sponsors whose duties
 are not comparable to those of trustees” and therefore, the cases relied on by the plaintiffs
 were distinguishable. HSBC Order, pp. 7-8;2 Blackrock Order, at *9 (“because Defendant
 cannot be required to investigate under the parties’ contracts, Defendant cannot be held liable
 for breach on the basis of constructive knowledge.”).3

 The HSBC Order also recognized that sampling was inappropriate to establish damages,
 finding that “[s]ampling cannot prove damages for the same reason it cannot prove liability;
 it cannot identify the specific breaching loans outside the sample based on the existence and
 rate of defective loans within the sample.” Id. at 9; Blackrock Order, at *11.

 Allowing further discovery and expert discovery based on RPI’s sampling methods would
 prejudice U.S. Bank because, as determined in the HSBC Order, it would fundamentally fail
 to prove or disprove liability or damages on any issue raised by RPI’s Complaint as to loans
 outside the sample. Id. at 4-9. The Blackrock Order and HSBC Order are determinative.
 U.S. Bank’s motion for a protective order to preclude sampling-related discovery should
 properly be granted.


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   The court also stated it was unaware of any cases “permitting the use of sampling to establish liability or
 damages in a lawsuit against an RMBS trustee.” Id. at 7.
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   Although the Blackrock Order suggests, in dicta, that it is plausible that discovery of breaches of R&Ws might
 be shown by proving “conscious avoidance or implied actual knowledge,” Judge Failla recognized that this
 question did not need to be decided to uphold Judge Netburn’s Blackrock Opinion precluding sampling.
 Blackrock Order, at *10.


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 Respectfully submitted,

 /s/ Benjamin P. Smith
 Benjamin P. Smith

 cc:      Counsel of Record via ECF




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